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UNITED STATES DISTRICT COURT
SOUTHERN DISTRlCT OF OHIO
EASTERN DIVISION

MATTHEW sANsCRAINTE, ) ease No. 2;16-cv-01 165
)
Plaimifr, ) JUDGE EDMUND A. sARGUs, JR.
)
v. ) MAGISTRATE JUDGE
) CHELSEY M. vAsCURA
DARPAN MANAGEMENT, INC., er a!., )
) JUDGMENT ENTRY
) APPRovING sETTLEMENT
Def`endants. )

This matter is before the Court on the parties’ Joint Motion for Approval of Settlement
(“Joint Motion”) pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b). The
Joint Motion asks the Court to approve, as f`air and reasonable, the proposed Settlement reached
by the parties and memorialized in their Settlement Agreernent, which has been filed under seal.

Having reviewed the Sett]ement Agreement, as well as the pleadings and papers filed in
this Action, and for good cause established therein, the Court enters this Final Order and Judgment
approving the Settlement, as follows:

l. This Action asserts wage"and-hour claims under the FLSA, 29 U.S.C. §§ 201-21 9,
and Ohio law.

2. The Court finds that the proposed Settlernent is fair and reasonable and satisfies the
standard for approval under the FLSA, 29 U.S.C. § 216(b).

3. The Court approves the Settlement Agreement, and orders that the Settlement
Agreement be implemented according to its terms and conditions as directed herein

4. The Court approves and awards attorneys’ fees and costs reimbursements to
Plaintiffs’ Counsel as provided in the Settlement Agreement, and orders that such payment be

made in the manner, and subject to the terms and conditions, set forth in the Agreernent.

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5. This Action and all claims of Plaintiff` are dismissed with prejudice The Court

finds there is no just reason f`or delay and directs the Clerk of the Court to enter this Final Order
and Judgment immediately

6. As requested by the parties, the Court retains jurisdiction over the Action to enforce

the terms of the Settlement Agreement and resolve any disputes thereunder.

SO ORDERED:

Date: (9 "l$` "¢l-o l% W
EDMUN@A. sARGUs, JR.
United States District Judge

 

